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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

 TEVIN JONES                                            )   Case No. 2:23-cv-920
                                                        )
             Plaintiff,                                 )   Judge: Sarah D. Morrison
 v.                                                     )
                                                        )   RULE 26(c) PROTECTIVE
 ENTERPRISE HOLDINGS, INC., et al.,                     )   ORDER
                                                        )
             Defendant.                                 )

        On motion of Defendants, and after considering Plaintiff's objections, the Court enters the

following Protective Order under Federal Rule of Civil Procedure 26(c):

        WHEREAS, discovery in this action may involve the disclosure of documents,

communications, and testimony related to Defendants’ confidential business information as well

as private or personal information concerning Plaintiff, Defendants, and/or third parties; and

        WHEREAS, documents, communications, and testimony related to: (1) Plaintiff’s

medical records, financial information, and confidential, private or personal information

contained in Plaintiff’s personnel file; (2) Defendants’ propriety and/or confidential business

information; (3) Confidential, private, or personal information (including Personally

Identifiable Information) of Defendants, Plaintiff, and third parties may be identified and marked

as “Confidential” before being produced or within a reasonable amount of time thereafter.

        THEREFORE, IT IS HEREBY ORDERED that:

        1.       Plaintiff,   Defendants   and    Defendants’     counsel    agree    that   documents,

communications, and testimony produced and gathered during the course of this litigation

identified and marked as “Confidential” shall not be given, shown or made available to anyone

other than the parties, counsel of record for the Plaintiff and Defendants in this litigation, paralegals

and/or clerical staff, trial witnesses (expert and fact), the Court and the jury in the course of judicial
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proceedings in this case, and other persons necessary and essential to aid in the preparation of this

case.

        2.     Documents, communications, and testimony identified and marked as

“Confidential” shall also be subject to the following restrictions and conditions:

               A.      “Confidential” documents, communications, and testimony shall not be

used for any purpose other than this litigation and under no circumstances shall “Confidential”

documents, communications, and/or testimony be used for any personal, business, competitive or

other purposes whatsoever;

               B.      It is the responsibility of counsel and pro se Plaintiff in this litigation to

maintain custody of all “Confidential” documents, communications, and testimony in a secure and

appropriate manner and place so as to allow access to “Confidential” documents, communications,

and testimony by only persons permitted by this Protective Order to have access to “Confidential”

documents, communications, and testimony;

               C.      If a document, communication, and/or testimony produced by the parties

and identified as “Confidential” is to be filed with the Court, the party filing the “Confidential”

document and/or testimony must either (1) seek leave to file the document and/or testimony

under seal under S.D. Ohio Civ. R. 5.2.1, or (2) before filing the “Confidential” document and/

or testimony with the Court, (a) notify opposing counsel or pro se Plaintiff, as appropriate,

which specific “Confidential” document and/or testimony is to be filed with the Court, and

(b) allow opposing counsel or pro se Plaintiff, as appropriate, to redact from the document and/

or testimony any specific “Confidential” information contained therein, and (c) file only the

redacted copy of the “Confidential” document and/or testimony with the Court, or (3) obtain

opposing counsel’s or pro se Plaintiff’s agreement to allow a copy of the “Confidential” document

and/or testimony to be filed without redacting;
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               D.      Any dispute as to whether a particular document or testimony is

“Confidential,” or as to whether particular information within a “Confidential” document or

testimony should be redacted, must be brought to the Court’s attention by the party disputing the

“Confidential” designation, and resolved prior to the filing of any disputed un-redacted

“Confidential” document or testimony;

               E.      Each person to whom any “Confidential” information is given, shown or

made available shall agree in writing to be bound by the terms of this Protective Order and shall

execute the Confidentiality Agreement attached as Exhibit A;

               F.      Within thirty (30) days after the conclusion of this litigation, by settlement

or adjudication, including any appellate proceedings, all “Confidential” documents,

communications, and testimony produced by either party shall be destroyed or returned to the

opposing party.

               G.      The inadvertent or unintentional disclosure of any “Confidential”

documents, communications, and/or testimony, including without limitation attorney-client

privileged documents, communications, and/or testimony shall not be construed to be a waiver, in

whole or in part, of a claim of confidentiality either as to the specific “Confidential” document or

testimony disclosed or as to any other related information;

               H.      The designation of any document, communication, or testimony as

“Confidential” and subject to this Protective Order shall have no meaning or effect whatsoever

with respect to the substantive issues in this proceeding or the claims or defenses of Plaintiff or

Defendants; and
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               I.      This order does not constitute an admission or agreement that any

“Confidential” document, communication, or testimony is subject to discovery, disclosure or

production or is admissible as evidence in this case.

       3.      This Protective Order shall be without prejudice to the right of any party in this

action to seek further protective orders, or modification of the same from the Court with respect to

any specific “Confidential” document, communication, or testimony.

       4.      Any person violating this Order may be subject to such sanctions as the Court may

deem appropriate.

       IT IS SO ORDERED.



                                                   s/ Chelsey M. Vascura
                                                  ______________________________
                                                  CHELSEY M. VASCURA
                                                  UNITED STATES MAGISTRATE JUDGE
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                                          EXHIBIT A

                            CONFIDENTIALITY AGREEMENT

       _______________________ hereby acknowledges he or she has read the Protective Order

entered by this Court in Tevin Jones v. Enterprise Holdings, Inc., et al., United States District

Court, Southern District of Ohio, Case No. 2:23-cv-920, and that he or she acknowledges being

bound by the terms of the same and that he or she fully understands the terms of said Order.


BY:___________________________________
